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 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Orlando Garcia,                           Case No.

12                Plaintiff,
                                                  Complaint For Damages And
13        v.                                      Injunctive Relief For Violations
                                                  Of: American’s With Disabilities
14      La Zapopana Meat Market, Inc., a          Act; Unruh Civil Rights Act
        California Corporation; and Does 1-
15      10,

16                Defendants.

17
18          Plaintiff Orlando Garcia complains of La Zapopana Meat Market, Inc.,

19    a California Corporation; and Does 1-10 (“Defendants”), and alleges as

20    follows:

21
22
        PARTIES:
23
        1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
24
      level C-5 quadriplegic. He also suffers from Cerebral Palsy. He has manual
25
      dexterity issues. He uses a wheelchair for mobility.
26
        2. Defendant La Zapopana Meat Market, Inc. owned La Zapopana Meat
27
      Market located at or about 8022 Atlantic Avenue, Cudahy, California, in
28
      January 2020.

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 1      3. Defendant La Zapopana Meat Market, Inc. owns La Zapopana Meat
 2    Market (“Store”) located at or about 8022 Atlantic Avenue, Cudahy,
 3    California, currently.
 4      4. Plaintiff does not know the true names of Defendants, their business
 5    capacities, their ownership connection to the property and business, or their
 6    relative responsibilities in causing the access violations herein complained of,
 7    and alleges a joint venture and common enterprise by all such Defendants.
 8    Plaintiff is informed and believes that each of the Defendants herein,
 9    including Does 1 through 10, inclusive, is responsible in some capacity for the
10    events herein alleged, or is a necessary party for obtaining appropriate relief.
11    Plaintiff will seek leave to amend when the true names, capacities,
12    connections, and responsibilities of the Defendants and Does 1 through 10,
13    inclusive, are ascertained.
14
15      JURISDICTION & VENUE:
16      5. The Court has subject matter jurisdiction over the action pursuant to 28
17    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
18    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
19      6. Pursuant to supplemental jurisdiction, an attendant and related cause
20    of action, arising from the same nucleus of operative facts and arising out of
21    the same transactions, is also brought under California’s Unruh Civil Rights
22    Act, which act expressly incorporates the Americans with Disabilities Act.
23      7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
24    founded on the fact that the real property which is the subject of this action is
25    located in this district and that Plaintiff's cause of action arose in this district.
26
27      FACTUAL ALLEGATIONS:
28      8. Plaintiff went to the Store in January 2020 with the intention to avail


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 1    himself of its goods, motivated in part to determine if the defendants comply
 2    with the disability access laws.
 3      9. The Store is facility open to the public, a place of public accommodation,
 4    and a business establishment.
 5      10. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
 6    to provide wheelchair accessible paths of travel inside the Store in
 7    conformance with the ADA Standards as it relates to wheelchair users like the
 8    plaintiff.
 9      11. On information and belief, the defendants currently fail to provide
10    wheelchair accessible paths of travel inside the Store.
11      12. These barriers relate to and impact the plaintiff’s disability. Plaintiff
12    personally encountered these barriers.
13      13. As a wheelchair user, the plaintiff benefits from and is entitled to use
14    wheelchair accessible paths of travel. By failing to provide accessible facilities,
15    the defendants denied the plaintiff full and equal access.
16      14. The failure to provide accessible facilities created difficulty and
17    discomfort for the Plaintiff.
18      15. Even though the plaintiff did not confront the barriers, on information
19    and belief the defendants currently fail to provide wheelchair accessible
20    produce bags.
21      16. Additionally, on information and belief the defendants currently fail to
22    provide wheelchair accessible sales counters. Plaintiff seeks to have these
23    barriers removed as they relate to and impact his disability.
24      17. The defendants have failed to maintain in working and useable
25    conditions those features required to provide ready access to persons with
26    disabilities.
27      18. The barriers identified above are easily removed without much
28    difficulty or expense. They are the types of barriers identified by the


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 1    Department of Justice as presumably readily achievable to remove and, in fact,
 2    these barriers are readily achievable to remove. Moreover, there are numerous
 3    alternative accommodations that could be made to provide a greater level of
 4    access if complete removal were not achievable.
 5      19. Plaintiff will return to the Store to avail himself of its goods and to
 6    determine compliance with the disability access laws once it is represented to
 7    him that the Store and its facilities are accessible. Plaintiff is currently deterred
 8    from doing so because of his knowledge of the existing barriers and his
 9    uncertainty about the existence of yet other barriers on the site. If the barriers
10    are not removed, the plaintiff will face unlawful and discriminatory barriers
11    again.
12      20. Given the obvious and blatant nature of the barriers and violations
13    alleged herein, the plaintiff alleges, on information and belief, that there are
14    other violations and barriers on the site that relate to his disability. Plaintiff will
15    amend the complaint, to provide proper notice regarding the scope of this
16    lawsuit, once he conducts a site inspection. However, please be on notice that
17    the plaintiff seeks to have all barriers related to his disability remedied. See
18    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
19    encounters one barrier at a site, he can sue to have all barriers that relate to his
20    disability removed regardless of whether he personally encountered them).
21
22    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
23    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
24    Defendants.) (42 U.S.C. section 12101, et seq.)
25      21. Plaintiff re-pleads and incorporates by reference, as if fully set forth
26    again herein, the allegations contained in all prior paragraphs of this
27    complaint.
28      22. Under the ADA, it is an act of discrimination to fail to ensure that the


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 1    privileges, advantages, accommodations, facilities, goods and services of any
 2    place of public accommodation is offered on a full and equal basis by anyone
 3    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 4    § 12182(a). Discrimination is defined, inter alia, as follows:
 5             a. A failure to make reasonable modifications in policies, practices,
 6                 or procedures, when such modifications are necessary to afford
 7                 goods,    services,    facilities,   privileges,    advantages,   or
 8                 accommodations to individuals with disabilities, unless the
 9                 accommodation would work a fundamental alteration of those
10                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
11             b. A failure to remove architectural barriers where such removal is
12                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
13                 defined by reference to the ADA Standards.
14             c. A failure to make alterations in such a manner that, to the
15                 maximum extent feasible, the altered portions of the facility are
16                 readily accessible to and usable by individuals with disabilities,
17                 including individuals who use wheelchairs or to ensure that, to the
18                 maximum extent feasible, the path of travel to the altered area and
19                 the bathrooms, telephones, and drinking fountains serving the
20                 altered area, are readily accessible to and usable by individuals
21                 with disabilities. 42 U.S.C. § 12183(a)(2).
22      23. When a business provides paths of travel, it must provide accessible
23    paths of travel.
24      24. Here, accessible paths of travel have not been provided.
25      25. When a business provides facilities such as produce bags, it must
26    provide produce bags that are within accessible reach range.
27      26. Here, accessible produce bags have not been provided.
28      27. When a business provides facilities such as sales or transaction counters,


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 1    it must provide accessible sales or transaction counters.
 2      28. Here, accessible sales or transaction counters have not been provided.
 3      29. The Safe Harbor provisions of the 2010 Standards are not applicable
 4    here because the conditions challenged in this lawsuit do not comply with the
 5    1991 Standards.
 6      30. A public accommodation must maintain in operable working condition
 7    those features of its facilities and equipment that are required to be readily
 8    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9      31. Here, the failure to ensure that the accessible facilities were available
10    and ready to be used by the plaintiff is a violation of the law.
11
12    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
13    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
14    Code § 51-53.)
15      32. Plaintiff repleads and incorporates by reference, as if fully set forth
16    again herein, the allegations contained in all prior paragraphs of this
17    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
18    that persons with disabilities are entitled to full and equal accommodations,
19    advantages, facilities, privileges, or services in all business establishment of
20    every kind whatsoever within the jurisdiction of the State of California. Cal.
21    Civ. Code §51(b).
22      33. The Unruh Act provides that a violation of the ADA is a violation of the
23    Unruh Act. Cal. Civ. Code, § 51(f).
24      34. Defendants’ acts and omissions, as herein alleged, have violated the
25    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
26    rights to full and equal use of the accommodations, advantages, facilities,
27    privileges, or services offered.
28      35. Because the violation of the Unruh Civil Rights Act resulted in difficulty,


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 1    discomfort or embarrassment for the plaintiff, the defendants are also each
 2    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 3    (c).)
 4
 5              PRAYER:
 6              Wherefore, Plaintiff prays that this Court award damages and provide
 7    relief as follows:
 8            1. For injunctive relief, compelling Defendants to comply with the
 9    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
10    plaintiff is not invoking section 55 of the California Civil Code and is not
11    seeking injunctive relief under the Disabled Persons Act at all.
12            2. Damages under the Unruh Civil Rights Act, which provides for actual
13    damages and a statutory minimum of $4,000 for each offense.
14            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
15    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
16
      Dated: February 6, 2020              CENTER FOR DISABILITY ACCESS
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18
                                           By:
19
                                           ______________________________
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                                                  Russell Handy, Esq.
21                                                Attorney for plaintiff
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